         Case: 3:17-cv-00325-WHR-SLO Doc #: 41 Filed: 03/22/19 Page: 1 of 1 PAGEID #: 293
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the
                                                       SouthernDistrict
                                                   __________   Districtofof__________
                                                                             Ohio

                     JaToya D. Bostock                               )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 3:17-cv-325
         Westlake Financial Solutions LLC, et al                     )
                            Defendant                                )

                                             JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

u the plaintiff (name)                                                                                         recover from the
defendant (name)                                                                                                  the amount of
                                                                            dollars ($               ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of             % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other:
u              JUDGMENT TO BE ENTERED IN FAVOR OF DEFENDANTS AND
               AGAINST PLAINTIFF; TERMINATION ENTRY
                                                                                                                                     .

This action was (check one):

u tried by a jury with Judge                                                                          presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge          Walter H. Rice                                                     on a motion for
      Report and Recommendations
                                                                                                                                     .

             3/22/2019
Date:                                                                       CLERK OF COURT



                                                                                          Signature of Clerk or Deputy Clerk
